July 11, 2008


Mr. David J. Sacks
Sacks Law Firm
55 Waugh Drive, Suite 101
Houston, TX 77007
Mr. Richard N. Countiss
Countiss Law Firm
8441 Gulf Freeway, Suite 600
Houston, TX 77017-5051

RE:   Case Number:  07-0487
      Court of Appeals Number:  01-03-00025-CV
      Trial Court Number:  722,791

Style:      DAVID J. SACKS, P.C. D/B/A SACKS &amp; ASSOCIATES
      v.
      CHARLES MCINTYRE HADEN, JR., INDIVIDUALLY, AND CHARLES MCINTYRE
      HADEN, JR. &amp; COMPANY D/B/A HADEN &amp; COMPANY

Dear Counsel:

      Today the Supreme Court of Texas delivered  the  enclosed  per  curiam
opinion and judgment in the above-referenced cause.   The  Unopposed  Motion
to Consolidate is dismissed as moot.




                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. M. Karinne         |
|   |McCullough             |
|   |Ms. Beverly Kaufman    |

